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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
               v.                           :       Crim No. 21-MJ-128
                                            :
CHRISTOPHER KELLY,                          :
                                            :
                      Defendant.            :


                                           ORDER

       Having considered the Government’s Unopposed Motion to Dismiss, it is hereby

       ORDERED, that the Government’s Unopposed Motion to Dismiss the Complaint

without prejudice is GRANTED, and that the Complaint (ECF#1) in this matter shall be

dismissed without prejudice;

       IT IS FURTHER ORDERED that this case be dismissed without prejudice, and that the

preliminary hearing and status conference hearing currently scheduled for June 2, 2021, are

vacated.

                                                                 Zia M. Faruqui
                                                                 2021.06.01 19:00:06
                                                                 -04'00'
                                            _____________________________________
                                            Zia M. Faruqui
                                            United States Magistrate Judge




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